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                             UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA


THEOPHALIS WILSON,                       :
                                         :      Case No. 21-cv-2057-JMY
               Plaintiff                 :
                                         :
      v.                                 :
                                         :
CITY OF PHILADELPHIA, PA,                :
ETAL,                                    :
                                         :
               Defendant                 :


                                        ORDER

      AND NOW, this 4th day of March, 2022, it is hereby ORDERED that the initial pretrial

conference in the above-captioned matter, scheduled for March 8, 2022 at 11:00 A.M. is

CANCELED.



                                                BY THE COURT:

                                                /s/ John   Milton Younge

                                                       Judge John Milton Younge
